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                                 November 13, 2024
VIA CM/ECF
U.S. Court of Appeals for the Fifth Circuit
Attn: Lyle W. Cayce, Clerk of Court
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

       RE: Reese v. Bureau of Alcohol, Tobacco, Firearms & Explosives,
       No. 23-30033
Dear Mr. Cayce,
       The Government cites the Tenth Circuit’s decision in Rocky Mountain Gun
Owners v. Polis concluding that a law barring 18-to-20-year-olds from purchasing
firearms “does not fall within the protections of the plain text of the Second
Amendment.” 2024 WL 4677573, at *23 (10th Cir. Nov. 5, 2024). But the Tenth
Circuit’s reasoning is flawed in significant and material ways, and this Court should
not follow it into error.
       While Polis rightly rejected the argument that 18-to-20-year-olds are not “part
of ‘the people’ as defined by the Second Amendment,” id. at *13, it seriously erred
in concluding that certain “presumptively lawful regulatory measures” may be
upheld at the plain-text stage of the Bruen analysis without the full textual and
historical inquiries that Bruen plainly requires, id. at *15. And it compounded that
error by wrongly concluding that an age-based ban on purchasing firearms counts as
a “condition[ ] and qualification[ ] on the commercial sale of arms” that is
“presumptively lawful” under this flawed analysis. Id. at *16. The Tenth Circuit
panel never seriously grappled with the fundamental problem with this conclusion:
that an age-based restriction “operat[ing] as a total ban on buying a gun from a
licensed dealer” cannot be equated with “a hoop someone must jump through to sell
a gun.” Hirschfeld v. BATFE, 5 F.4th 407, 416 (4th Cir.), vacated as moot, 14 F.4th
322 (4th Cir. 2021). And the reasoning the Tenth Circuit did set forth is obviously
unsound. For instance, it based its holding in part on the untenable proposition that
Lyle W. Cayce
November 13, 2024
Page 2 of 2

by merely citing the federal age-based handgun ban in his Bruen concurrence,
Justice Alito somehow “acknowledged the constitutionality of such” restrictions.
Polis, 2024 WL 4677573, at *20. And the panel also significantly cited and relied
upon the State’s purported “scientific evidence” indicating that age-based limits
“will likely reduce the numbers of … violent crimes,” id. at *22, *23, in the teeth of
the Supreme Court’s explicit instructions that the lower courts must stop weighing
“the costs and benefits of firearms restrictions,” New York State Rifle & Pistol Ass’n
v. Bruen, 597 U.S. 1, 25 (2022).


                                              Sincerely,
                                              s/David H. Thompson
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      cc: All counsel of record via CM/ECF
